Case 2:04-cr-20241-.]DB Document 87 Filed 06/22/05 Page 1 of 2 Page|D 86

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FoR THE WEsTERN DISTRICT oF TENNES&&HUN 22 PH 3= 35
WESTERN DIVIsIoN

 

 

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Ga_{.;_f\§:;:_ L_._|_,F_J. UIST. 621-19
g t i, t,.-.P‘ lN, MEMPH_|S
UNITED STATES OF AMERICA
V.
04-20241-01-B
CURTIS BYRD
ORDER ON ARRAIGNMENT

Superseding Indictment

This cause came to be heard on , the United States Attorney
for this district appeared on behalf of the vernment, and e defendant appeared in person and with

counsel:

 

 

The defendant, through counsel, Waived formal arraignment and entered a plea ofnot guilty.

AIl motions shall be filed Within thirty (3 0) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

(/Gdefendant, who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held Without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

M

UNITED sTATF:s MAGISTR.ATE JUDGE

 

CHARGES: 1811341 & 3147(1);

U. S. Attorney assigned to Case: C. McMullen

Age: 33

Thls document entered on the docket sheet in compliance
with Ft.lle 55 and/or 32tb) FRCrP on '

NAME /€¢ LE/:L,//CM Who is Retained/Appointed.
/ ""

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UNITED sTATE onlle COURT - WESRNTE D's'TRCT 0 TESSEE

   
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 87 in
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Honorable J. Breen
US DISTRICT COURT

